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                            EXHIBIT B
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION




     CONTINENTAL CASUALTY COMPANY,

            Plaintiff/Counterclaim Defendant,

     V.                                                 Case No. 3:19-cv-0p0661-MHL

     AWP USA INC. a/k/a AGA, INC., AGA
     SERVICE COMPANY d/b/a ALLIANZ
     GLOBAL ASSISTANCE, and JEFFERSON
     INSURANCE COMPANY,

            Defendants/Counterclaim Plaintiffs.



                 AFFIDAVIT OF JACK ZEMP IN SUPPORT OF DEFENDANTS'
                       DISCOVERY OBJECTIONS AND ANSWERS

           I, Jack Zemp, first being duly sworn, state as follows:

           1.      I am the Vice President, Chief Legal Officer North America, and Secretary of AGA

   Service Company, whose offices are located at 9950 Maryland Drive, Richmond, Virginia, 23233.

   I hold similar positions with both Jefferson Insurance Company and AWP USA, Inc. I am duly

    authorized to submit this affidavit (the "Affidavit") on behalf of the Defendants in this action.

           2.      I submit this Affidavit with respect to Continental's First Set of Interrogatories and

   Requests for Production ("Continental's Discovery Requests"), Continental's Notice of Objection

    (ECF No. 54), and the parties' joint discovery submission to the Court dated November 19, 2021.
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              3.       I have personal knowledge regarding this litigation and have been involved in the

    Defendants' effort to obtain coverage from Continental since the inception of the Underlying

    Actions at issue. 1


                           Documents Protected from Disclosure by Court Order

              4.       Certain documents sought by Continental's Discovery Requests are subject to

    protective orders entered in certain Underlying Actions. These documents include, but are not

    necessarily limited to: (1) clean versions of otherwise redacted pleadings (Request No. 9), (2)

     clean versions of otherwise redacted briefing and/or dispositive motions (Request No. 10), and

     (3) expert reports (Request No. 13).

              5.       The actions containing such materials include:

                       (a) Zamber v. American Airlines, Inc., Case No. 16-CV-23901, U.S. District

                           Court, Southern District of Florida;

                       (b) Donojfv. Delta Air Lines, Inc., Case No. 18-cv-81258, U.S. District Court,

                            Southern District of Florida;

                       (c) Dolan v. JetBlue Airways Corp., Case No. 18-cv-62193, U.S. District Court,

                            Southern District of Florida.

              6.       The protective orders entered by each of these courts, which are a matter of public

     record, are attached hereto as Exhibit "A" (Zamber), Exhibit "B" (Donoff), and Exhibit "C"

     (Dolan).

              7.       Unredacted versions of the documents sought by Continental are not available in

     the public records specifically because the redacted excerpts contain confidential information



    1 The Underlying Actions, collectively, are the various lawsuits against Defendants' partners as addressed in detail

    in Defendants' Counterclaim (ECF No. 41).


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    subject to the protective orders. Because anyunredacted versions of these documents are subject

    to protection under orders entered in the Underlying Actions, Defendants believe in good faith

    that they are prohibited from disclosing any umedacted versions to Continental.

                Documents Protected from Disclosure by Confidentiality Agreement

           8.      Continental also seeks the production of marketing agreements between

    Defendants and their partners who have demanded indemnity. See Request No. 5. The marketing

    agreements contain highly sensitive commercial information concerning AGA's relationships

    with multiple of its business partners. This information would put AGA and its partners at a

    competitive disadvantage with their competitors which, in the case of AGA, includes

    Continental's sister-companies, if the information were disclosed. The marketing agreements

    contain confidentiality provisions that contractually prevent Defendants from disclosing the

    agreements absent consent from the contracting partner.           Certain partners have granted

    Defendants permission to produce their agreements with redactions necessary to protect highly

    sensitive and proprietary information contained therein. Defendants intend to produce these

    agreements in redacted form and appropriately account for these redactions in a privilege log

    when the agreements are produced.

           9.      At least one of the partners has refused to consent to the production of its redacted

    marketing agreement unless the agreement is produced subject to an "attorneys' eyes only"

    designation under an order entered by the Court in this action. The protective order previously

    agreed to by the parties and entered by the Court contains no such provision. On October 27,

    2021, Defendants asked that Continental agree to jointly seek modification of the protective order

    in order to facilitate the production of all marketing agreements. As of the date of this affidavit,




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    Continental has refused to respond to Defendants' request, forcing Defendants to seek the Court's

    assistance.

                   Requests that Fail to Meet a Heightened Relevance Standard
                                  and are Unduly Burdensome

            10.    Continental has also requested certain documents that are undiscoverable under a

    specially applicable heightened relevance standard, In re Anonymous, 283 F.3d 627 (4th Cir.

    2002), and/or their production would impose an undue burden on Defendants in light of the

    relevant time frame, the volume of communications, and the hours required to compile, log, and

    produce the materials.

            11.    Specifically, Continental has requested "all documents referring to or reflecting

    settlement communications in the Underlying Actions, including communications with any

    adverse party and/or any mediator." See Request No. 15. The Underlying Actions date back to

    September 2016 with the commencement of the Zamber action against American Airlines. Since

    that time, the claimants in the numerous Underlying Actions, Defendants, and their partners have

    intermittently engaged in some form of settlement discussions that have spanned the course of

    approximately five years. In Defendants' estimation, this likely constitutes hundreds (if not

    thousands) of individual settlement communications - the overwhelming majority of which were

    failed discussions that never resolved any of the Underlying Actions. Continental is accordingly

    seeking a substantial volume of documents in the possession of numerous custodians (including

    its outside attorneys) dating back multiple years. Defendants estimate that compiling these

    materials, appropriately logging them for privilege, and producing them to Continental would

    require dozens of hours from staff, in-house counsel, and external counsel, as well as tens of

    thousands of dollars in fees and costs.




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            12.    Moreover, Continental has requested all "documents related to communications

    with any insurer ... concerning any of the Policies and/or any of the Underlying Actions," as

    well as "all documents relating to the negotiation or procurement of any of the Policies." See

    Request Nos. 17 and 18. The vast majority of these documents encompass communications

    between Defendants and Continental (which are already in Continental's possession).

            13.    Further, any communications with Continental regarding the negotiation and

    procurement of the Policies would precede the inception of the 2016-17 Cyber and E&O policies

    at issue in this litigation. Since the inception of the Zamber action in September 2016, however,

    Defendants have had consistent communications with Continental regarding all of the Underlying

    Actions on subjects including the lawsuits, the partners' indemnity demands, the availability of

    coverage, settlement opportunities, and the instant litigation. Continental is accordingly seeking

    a substantial volume of documents in the possession of numerous custodians (including

    Defendants' outside attorneys) dating back multiple years. Defendants estimate that compiling

    these materials, appropriately logging them for privilege, and producing them to Continental

    would require dozens of hours from staff, in-house counsel, and external counsel, as well as tens

    of thousands of dollars in fees and costs. All of this would be for the sole purpose of producing

    documents to Continental that are already in Continental's possession.

                              Categorically Undiscoverable Documents

            14.    Finally, Defendants have categorically withheld documents in response to certain

    discovery requests on the basis that they are undiscoverable in this litigation. This includes, but

    is not necessarily limited to: (1) all redacted pleadings in the Underlying Actions (Request No.

    9), (2) all pleadings, orders, and written submissions to the arbitrators in the Smith Action

     (Request No. 11), (3) all expert reports served in the Underlying Actions (Request No. 13), (4)




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    all mediation statements in the Underlying Actions (Request No. 14), and (5) all settlement

    communications in the Underlying Actions, including communications with mediators (Request

    No. 15). Continental maintains, however, that Defendants must compile and log all responsive

    documents or information so it can evaluate the propriety of Defendants' objections.

            15.     Collectively, these documents number in the thousands and are in the possession

    of numerous custodians (including Defendants' outside attorneys) dating as far back as 2016.

    Defendants further estimate that compiling these materials and logging all of them for privilege

    would require over 100 hours from staff, in-house counsel, and external counsel, as well as tens

    of thousands of dollars in fees and costs. Defendants submit that this is an unduly burdensome

    and meaningless exercise if the Court rules that these documents are categorically protected from

    discovery. Defendants accordingly request that the Court relieve them from the burden associated

    with creating a privilege log for each and every document if these documents are deemed

    undiscoverable.

           To the best ofmy knowledge, information, and belief, I declare under penalty of perjury

    that the foregoing information is true and correct.




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    Dated:       '1/'   ;/4.1                , 2021


                                                                      sident, Chief Legal Officer North
                                                                    ca, and Secretary of AGA Service
                                                                Company


    {State of Virginia                  }
    {                                   } ss.
    {County of Henrico                  }

    Subscribed and sworn to (or affirmed) before me on this           /c'.'~
                                                                 day of }J li\~,,,A l {:),.£l,{
    20 Z I, by Jack f\mp, proved to me on the basis of satisfactory evidence to be the person who
    appeared before 1'te\
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     \ Ci) I b I Cct l . •JLlt/l \; sJ L/) D0()\/\.,/'.......
                                                                                Patricia Joan Wisdom
                                                                                         Commonwealth of Virginia
                                                                                                Notary Public
   Notary Public                                                                         Commission No. 7502659
                                                                                        My Commission Expires 11/30/2023



    My commission expires:




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                      CASE NO. 16-CV-23901-MARTINEZ/GOODMAN

   KRISTIAN ZAMBER,

         Plaintiff,

   v.

   AMERICAN AIRLINES, INC.,

         Defendant.
   ______________________________/

                      AMENDED STIPULATED PROTECTIVE ORDER 1

         The parties filed a joint motion requesting that the Undersigned enter an

   amended stipulated order under Federal Rule of Civil Procedure 26(c) for the protection

   of confidential information that the parties may produce or otherwise disclose during

   this litigation. [ECF No. 92]. The Undersigned orders as follows:

                                  DEFINITIONS GENERALLY

         1.     As used in this Order, the term “Action” shall mean the above-captioned

   litigation between Kristian Zamber (“Plaintiff” or “Mr. Zamber”) and American

   Airlines, Inc. (“American”).

         2.     As used in this Order, the terms “Party” and “Parties” shall mean any and


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         The Undersigned modified the proposed stipulated protective order, particularly
   in numbered paragraphs 12, 17, 22, 28, 31, and 38 (removed).
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   all named parties (i.e., Mr. Zamber and American), including any Party’s current

   employees.

          3.     As used in this Order, the term “Non-Party” shall mean any individual,

   corporation, association, or other natural person or entity that is not a named Party to

   the Action. This Order shall govern all Documents, materials, and information disclosed

   during the course of this Action in any form (including, but not limited to, Documents,

   materials, and information produced by a Party or Non-Party, disclosed through

   testimony, or contained in pleadings, motions, briefs, or other materials filed with the

   Court) for purposes of discovery or otherwise.

          4.     As used in this Order, the term “Document” is intended to be

   comprehensive and includes any and all materials in the broadest sense contemplated

   by Rule 34 of the Federal Rules of Civil Procedure, and shall include all written, oral,

   recorded, or graphic material, however produced or reproduced including, but not

   limited to: all written or printed matter of any kind, including the originals and all non-

   identical copies thereof, whether different from the originals by reason of any notation

   made on such copies or otherwise; electronically stored information, software, and

   other computer data including, but not limited to, information stored in a computer at

   any time; all graphic or manual records or representations of any kind including, but

   not limited to, photographs, microfiche, microfilm, videotape, records, and motion

   pictures; electronic, mechanical, or electric records or representations of any kind


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   including, but not limited to, cassettes, discs, magnetic cards and recordings, optical

   and other media; and all drafts, alterations, modifications, changes, and amendments to

   any of the foregoing.

          5.     As used in this Order, the term “privilege” shall mean the attorney-client

   privilege, the work-product doctrine, the common-interest or joint-defense doctrine,

   and/or any other privilege, protection, or immunity recognized by applicable law.

          6.     As used in this Order, the term “Confidential Material” means any

   Document, material, or information supplied in any form, or any portion thereof, which

   is or contains confidential or proprietary business, commercial, research, personnel,

   process, product, or financial information of the producing Party or Non-Party that

   does not fall within the Highly Confidential Material designation (described below). A

   designation by a Party or Non-Party of Confidential Material shall constitute a

   representation to the Court that such Party or Non-Party believes in good faith that the

   information constitutes Confidential Material. The Parties and Non-Parties shall make a

   good faith effort to designate information only as needed. A Party or Non-Party

   designating information as Confidential Material shall mark each page of the Document

   containing such material as “Confidential.”

          7.     As used in this Order, the term “Highly Confidential Material” means any

   Document, material, or information supplied in any form, or any portion thereof, which

   a Party or Non-Party reasonably believes to be so highly sensitive that it is (i) the subject


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   of reasonable efforts to maintain its secrecy and (ii) sufficiently valuable and secret to

   afford a potential or actual advantage over others. By way of example, and not

   limitation, Highly Confidential Material includes trade secrets; confidential research

   and analysis; board materials and presentations; interactions with government

   regulatory bodies; negotiation strategies; commercial agreements between American

   and other entities; technical, sales, or other commercially sensitive information

   (including without limitation information or data relating to strategic plans, data

   received from a Non-Party pursuant to a non-disclosure agreement, commercial

   agreements, settlement negotiations, and settlement agreements); customer lists and

   information; proprietary software or systems; proprietary edits or customizations to

   software; proprietary process and product information; personnel files; and margin,

   cost, and pricing information. The Parties and Non-Parties shall make a good faith

   effort to designate information only as needed. A Party or Non-Party designating

   information as Highly Confidential Material shall mark each page of the Document

   containing such material as “Highly Confidential.”

          8.     Confidential Material and Highly Confidential Material may be

   collectively referred to here as “Protected Material.”

                                     GENERAL PROVISIONS

          9.     Production    for    Inspection       Purposes   Only.   Notwithstanding   the

   provisions of Paragraphs 6, 7, and 8, if a Party or Non-Party provides Documents,


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   materials, or information for inspection only, then no marking need be made by the

   producing Party or Non-Party in advance of the initial inspection, and the following

   procedures shall apply:

                  a.    The producing Party or Non-Party shall not be considered to have

   waived the Protected Material status of Documents, materials, or information made

   available during such an initial inspection but not chosen by the inspecting Party for

   copying; and

                  b.    Thereafter, upon selection of specified Documents, materials, or

   information for copying by the inspecting Party, the producing Party or Non-Party

   shall, within twenty-one (21) days (or such longer period as may be agreed upon by the

   Parties), and prior to providing copies of the selected Documents, materials, or

   information to the requesting Party, mark each page as may contain Protected Material

   in accordance with this Order.

          10.     Depositions. From the date of a deposition until twenty-one (21) days

   after receipt of a final deposition transcript, such transcript shall be deemed Highly

   Confidential Material in accordance with this Order. The designation by a Party or Non-

   Party of a transcript, exhibit, or video recording (or any portion thereof) as Confidential

   Material or Highly Confidential Material shall be made in writing and served upon all

   counsel of record and the relevant court reporter. Designations of a transcript are to be

   conducted on a page-by-page or line-by-line basis. Any designation of a transcript (or


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   portion thereof) shall be treated as a designation of the corresponding video, or portion

   thereof, and vice-versa.

         11.    Using Protected Material at Depositions. Subject to the terms of this

   Order and the Federal Rules of Civil Procedure, any Party may use Confidential

   Material or Highly Confidential Material in an examination of a witness at a deposition,

   provided that:

                a.       the witness is an author, addressee, recipient, or source of the

   Protected Material;

                b.       the witness is a current or former employee of the producing Party

   or Non-Party and has or had lawful access to the specific Document containing the

   Protected Material to be disclosed;

                c.       the witness is likely to have had knowledge of the Protected

   Material to be disclosed;

                d.       the witness is one of the persons identified in Paragraph 13 (for

   Confidential Material) or Paragraph 14 (for Highly Confidential Material) as the case

   may be; or

                e.       the Party wishing to use Protected Material in an examination of a

   witness obtains consent, which shall not be unreasonably withheld, from the producing

   Party or Non-Party prior to using such Protected Material.

         12.    Objections to Designation or Treatment. A Party may at any time, in


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   good faith, object to the designation of any Document or specific information as

   Protected Material by stating its objection in writing, which specifies the Document or

   information challenged (or, where appropriate, by reasonably defined categories of

   Documents or information challenged) and including a statement of the legal or factual

   basis for each objection, to the Party or Non-Party making the designation, and it shall

   make a good faith effort to resolve the dispute with counsel for the Party or Non-Party

   so designating the Document or information. If the Parties cannot reach agreement as to

   the designation, then the receiving Party or objector may seek appropriate relief

   through the Court’s Discovery Procedures Order. [ECF No. 80, p. 8].

                         DISCLOSURE OF PROTECTED MATERIAL

          13.    Confidential Material. Subject to all other terms of this Order,

   Confidential Material may be disclosed only to:

                 a.     the Parties;

                 b.     if the Confidential Material was produced by a Non-Party, then the

   Non-Party that produced the Confidential Material;

                 c.     the Parties’ and/or Non-Parties’ attorneys involved in this Action

   (and the partners, associates, paralegals, and clerical and support personnel, including

   outside vendors, working under the direct supervision of such counsel and that are

   directly involved in or assisting in this Action);

                 d.     each Party’s and/or Non-Parties’ respective in-house attorneys who


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   are practicing law on behalf of the Party or Non-Party, as the case may be, as part of

   their job responsibilities;

                 e.      the Court and all persons assisting the Court in the Action,

   including special masters, mediators, court reporters taking testimony involving such

   information, and necessary stenographic and clerical personnel thereof, in accordance

   with the procedures set forth below;

                 f.      persons retained as consultants or experts by any Party and/or

   Non-Party for the purposes of this Action and principals and employees of the firms

   with which consultants or experts are associated and who are directly involved and

   assisting in this Action (but excluding any consultants or experts known to be regularly

   employed or engaged by a current or prospective competitor of the Party or Non-Party

   that designated the material as Confidential Material);

                 g.      persons other than consultants or experts who are retained to

   provide purely administrative assistance to counsel for any Party and/or Non-Party for

   the purpose of the Action, including litigation support services and outside copying

   services;

                 h.      persons whom the Confidential Material itself indicates, or the

   receiving Party otherwise has reason to believe, were the author, addressee, source, or

   recipient of the Document;

                 i.      any person noticed or called to testify as a witness at a deposition,


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   hearing, mediation, trial, or other proceeding in the Action, and for the purpose of

   assisting in the preparation or examination of the witness, provided that the

   requirements of Paragraph 11 have been satisfied;

                 j.     any other person hereafter designated by written stipulation of the

   Parties or by further order of the Court; and

                 k.     any person to whom the producing Party or Non-Party agrees in

   writing disclosure may be made.

          14.    Highly Confidential Material. Subject to all other terms of this Order,

   Highly Confidential Material may be disclosed only to:

                 a.     the Parties’ and/or Non-Parties’ attorneys involved in this Action

   (and the partners, associates, paralegals, and clerical and support personnel, including

   outside vendors, working under the direct supervision of such counsel and that are

   directly involved in or assisting in this Action);

                 b.     the Court and all persons assisting the Court in the Action,

   including special masters, mediators, court reporters taking testimony involving such

   information, and necessary stenographic and clerical personnel thereof, in accordance

   with the procedures set forth below;

                 c.     persons retained as consultants or experts by any Party and/or

   Non-Party for the purposes of this Action and principals and employees of the firms

   with which consultants or experts are associated and who are directly involved and


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   assisting in this Action (but excluding any consultants or experts known to be, or to

   have been, employed or engaged by a current or prospective competitor of the Party or

   Non-Party that designated the material as Confidential Material);

                 d.      persons other than consultants or experts who are retained to

   provide purely administrative assistance to counsel for any Party and/or Non-Party for

   the purpose of the Action, including litigation support services and outside copying

   services;

                 e.      persons whom the Confidential Material itself indicates, or the

   receiving Party otherwise has reason to believe, were the author, addressee, source, or

   recipient of the Document;

                 f.      any person noticed or called to testify as a witness at a deposition,

   hearing, mediation, trial, or other proceeding in the Action, and for the purpose of

   assisting in the preparation or examination of the witness, provided that the

   requirements of Paragraphs 11(a), 11(d), or 11(e) have been satisfied; provided,

   however, that if the person is a Non-Party, then consent must be first obtained from the

   Party or Non-Party designating the material to be Highly Confidential Material;

                 g.      each Party’s and/or Non-Party’s respective in-house attorneys who

   are practicing law on behalf of the Party or Non-Party, as the case may be, as part of

   their job responsibilities;

                 h.      any other person hereafter designated by written stipulation of the


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   Parties or by further order of the Court; and

                i.          any person to whom the producing Party or Non-Party agrees in

   writing disclosure may be made.

         15.    Security of Protected Material.

                a.          Security Requirements. Plaintiff and his attorneys in this case

   (“Receiving Party”) agree to apply commercially reasonable safeguards for Protected

   Material that is in Receiving Party’s possession or under Receiving Party’s control in

   order to protect the same from unauthorized access that would violate the Order or any

   data laws. These safeguards include:

                       i.         All Protected Material will be exclusively stored with a

                third-party service provider (“Provider”) who shall at all times be (i) in

                compliance with all data laws and (ii) consistent in all material respects

                with the guidelines, principles or frameworks embodied in (A) ISO 27001

                and ISO 27002 and (B) industry standard practices;

                      ii.         Receiving Party’s electronic access to and review of

                Confidential Material stored with the Provider shall be solely through an

                encrypted communication;

                     iii.         When not in use, Receiving Party shall at all times maintain

                any paper copies of the Protected Material in a physically secure location,

                including safes, locked cabinets, or locked drawers;


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                     iv.         The Confidential Material shall not be kept on or copied to

                thumb drives or other portable storage devices except in an encrypted

                form;

                      v.         The Confidential Material shall not be reviewed or placed in

                view of the public;

                     vi.         Receiving Party will advise American Airlines and/or any

                Non-Party of any security breach within twenty-four (24) hours of its

                discovery; and

                     vii.        Plaintiff’s counsel shall advise its employees, agents or

                contractors with access to Protected Material of the foregoing security

                requirements and to adhere to same.

         As used in this section, “data laws” means as in effect from time to time, any law,

   rule, regulation, declaration, decree, directive, statute, or other enactment, order,

   mandate, or resolution, which is applicable to either Plaintiff (or his lawyers) or

   American or any Non-Party, issued or enacted by any domestic or foreign, supra-

   national, national, state, county, municipal, local, territorial, or other government or

   bureau, court, commission, board, authority, or agency, anywhere in the world, relating

   to data security, data protection and/or privacy.

                b.          Data Processing Requirements. Receiving Party agrees and

   acknowledges that Protected Material may be disclosed by Receiving Party to the


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   Provider only after the Provider has executed a nondisclosure agreement pursuant to

   this Order. Prior to the Provider disclosing or allowing access to the Protected Material

   to another third-party (e.g., also a “Provider”), such additional third-party shall be

   required to execute a nondisclosure agreement in accordance with this Order. As

   between Receiving Party and the producing Party and/or Non-Party, as the case may

   be, Receiving Party shall have sole responsibility for the acts and omissions of any such

   Provider to the extent such acts or omissions are not consistent with Receiving Party’s

   obligations with respect to the use of the Protected Material as provided in this Order.

         16.    Acknowledgment and Acceptance of Terms of this Order. Before any

   Confidential Material is disclosed to the persons identified above in Paragraphs 13(f)–

   13(k) or Paragraphs 14(c)–14(i), such persons shall be provided with a copy of this

   Order and shall execute the Acknowledgment of Protective Order attached as Exhibit A.

   Counsel for the Party or Non-Party seeking to disclose information pursuant to this

   Order shall retain the original copies of executed Acknowledgment forms and need not

   disclose who has executed them during the course of this Action, unless a dispute arises

   as to the dissemination of Protected Material to persons other than those identified as

   authorized under this Order.

         17.    Procedure Before Disclosure of Highly Confidential Material to Parties.

   A receiving Party’s counsel may believe that it must show certain limited pieces of

   information marked “Highly Confidential” by a producing Party or Non-Party to its


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   clients to adequately prepare its case for trial. If a receiving Party believes that

   information falls within this category, then it shall identify the information to the

   producing Party or Non-Party, as the case may be, with specificity and disclose the

   individuals to whom it wishes to disclose the information. The producing Party or Non-

   Party will provide a good faith response concerning its willingness (or lack of

   willingness) to permit the information to be shown to the disclosed individuals within

   ten (10) business days. If the producing Party or Non-Party is unwilling to permit the

   receiving Party to show the information to the receiving Party’s clients, then the

   receiving Party may then raise the matter with the Court through the Court’s Discovery

   Procedures Order. [ECF No. 80, p. 8]. Notwithstanding any other provision of this

   Order, nothing in this Order shall limit the ability of any Party or Non-Party to disclose

   to any person Protected Material produced or designated by such Party or Non-Party,

   or that is a business record of such Party or Non-Party.

         18.    Protected Material to be Used Only for this Action. Unless otherwise

   agreed to in writing by the Parties, Documents produced in this Action, including

   Protected Material, may be used only in this Action, and may not be used in any other

   action, proceeding, arbitration, or for any purpose unconnected to this Action.

         19.    Redaction. If Protected Material contains information of a particularly

   sensitive, personal nature relating to a Party or Non-Party’s customers or employees,

   then the producing Party or Non-Party, as the case may be, may make redactions of that


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   material. Information appropriate for redaction includes, without limitation: social

   security numbers, home or mobile phone numbers, secure traveler ID numbers,

   frequent flier numbers (except AAdvantage numbers), credit card numbers, and

   driver’s license, passport, or similar identification numbers, or any other information

   required to be protected under applicable law.

         20.    Maintaining Confidentiality.

                a.     All persons authorized by this Order to receive Protected Material

   shall maintain such information as confidential consistent with the terms of this Order

   and shall agree to be bound by its terms. Accordingly, no person, firm, corporation, or

   other entity shall use, disclose, make available, or otherwise communicate Protected

   Material in any manner whatsoever except for purposes of the Action, and then only in

   a manner consistent with this Order. A Party’s or Non-Party’s use for any purpose of its

   own Documents and information which it produces or discloses in the Action shall not

   be considered a violation of this Order. All Highly Confidential Material (including any

   summaries, abstracts, or other related information that includes, discusses, summarizes,

   or refers to any Highly Confidential Material (or information taken therefrom)) shall be

   kept in a secure location that is under the control of a person authorized by this Order

   to receive such information. No Party receiving Highly Confidential Material shall

   permit such material to be transmitted, accessed, disseminated, or transported outside

   of the borders of the United States of America.


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                b.     Persons having knowledge of Protected Material by virtue of the

   disclosure of such information in discovery in this Action shall use that Protected

   Material only in connection with the prosecution or appeal of the Action, and shall

   neither use such Protected Material for any other purpose nor disclose such Protected

   Material to any person who is not identified in paragraphs 13 and 14 of this Order.

         21.    Rendering Legal Advice. Nothing in this Order shall restrict any Party

   and/or Non-Party’s counsel from rendering advice to its clients with respect to this

   Action and, in the course thereof, relying upon Confidential Material or Highly

   Confidential Material; provided, however, that in rendering such advice, outside

   counsel shall not disclose any other Party’s or Non-Party’s Confidential Material or

   Highly Confidential Material other than in a manner provided for in this Order.

            USE OF PROTECTED MATERIAL BY A PARTY IN THIS ACTION

         22.    In the event a Party wishes to use Protected Material:

                a.     in any affidavits, briefs, memoranda of law, exhibits to motions, or

   other papers filed in Court in the Action, a Party shall redact such filings so as to

   remove any Protected Material. This Order, however, does not authorize either Party to

   seal court filings or court proceedings. The Parties shall comply with Local Rule 5.4

   when seeking to file documents under seal in the court file. Submissions filed with the

   Clerk’s office are presumptively open and accessible to the public. A Party seeking to

   file material under seal shall have the burden of demonstrating why sealing is necessary


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   -- especially if the material is filed in connection with a request for a substantive ruling,

   like a summary judgment motion.

                 b.      in hearings, oral arguments, or other appearances in court in the

   Action, the Parties, and each Non-Party producing any Protected Material sought to be

   used, shall confer and attempt to agree before any hearing on the procedures under

   which Protected Material may be introduced into evidence or otherwise used at such

   hearing. Upon reaching agreement, the Parties and Non-Party or Non-Parties, as the

   case may be, shall submit their proposal to the Court and give notice of the terms of

   such agreement. Absent agreement, the Court shall be asked by the Parties and/or Non-

   Parties to issue an order governing the use of such Protected Material at such a hearing

   upon reasonable notice to all Parties and Non-Parties that have produced such

   Protected Material.

                 c.      This Order governs only pretrial proceedings. The protections

   applicable during pretrial discovery proceedings herein to Protected Material shall

   apply during trial proceedings only pursuant to a separate order of the Court.

                REQUEST FOR CURE OF UNAUTHORIZED DISCLOSURES

          23.    Any Party or Non-Party (or counsel to any Party or Non-Party) that

   becomes aware of any unauthorized disclosure of Protected Material or any breach of

   this Order shall promptly give notice to the Party or Non-Party that produced or

   supplied the Protected Material of such circumstances, including a reasonable


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   description of the circumstances that led to the unauthorized disclosure. Upon such

   notice, the Party or Non-Party that produced or supplied the Protected Material may

   seek such other relief as is appropriate. In any event, the Party or Non-Party that made

   the unauthorized disclosure shall immediately take all reasonable steps to cure the

   unauthorized disclosure (by, inter alia, retrieving such information) and shall make

   every effort to prevent further disclosure.

      SUBPOENAS COMMANDING PRODUCTION OF PROTECTED MATERIAL

          24.    If any Party has obtained Protected Material under the terms of this Order

   and receives a subpoena, civil investigative demand, or other compulsory process

   commanding the production of such Protected Material, then such Party shall notify the

   counsel of record for the producing Party or Non-Party, in writing (including, but not

   limited to, e-mail) no later than seven (7) days following the discovery that the

   subpoena or process order calls for Protected Material. Within seven (7) days of receipt

   of notification, the producing Party or Non-Party shall inform the subpoenaed Party

   either that it does not object to production of the Protected Material or that it will seek

   court protection to prevent the production. If the producing Party or Non-Party fails to

   provide the subpoenaed Party with a response, the subpoenaed Party may produce the

   Protected Material after fourteen (14) days following the subpoenaed Party’s

   notification of the subpoena to the producing Party or Non-Party. In the event the

   producing Party or Non-Party informs the subpoenaed Party that it will seek court


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   protection to prevent the production, the subpoenaed Party shall not produce any

   Protected Material without the prior written consent of the producing Party or Non-

   Party unless required by an order of a court of competent jurisdiction.

        PRODUCTION OF PROTECTED MATERIAL WITHOUT DESIGNATION

         25.     The production of Protected Material without a designation as

   Confidential Material or Highly Confidential Material, as the case may be, shall not be

   deemed a waiver or impairment of any claim of privilege or protection of the

   confidential nature of any such material. Upon a Party or Non-Party’s discovery that its

   information was not correctly designated, that Party or Non-Party shall provide notice

   to the other litigants that the information was inappropriately designated and shall re-

   designate the information. Additionally, upon notice that any Confidential Material or

   Highly Confidential Material has not been appropriately so designated and should be

   re-designated as Confidential Material or Highly Confidential Material, the Party

   receiving such notice shall make a reasonable, good faith effort to ensure that any

   analyses, memoranda, or notes that were generated based upon such material before its

   re-designation shall immediately be treated in conformity with any such re-designation.

               INADVERTENT PRODUCTION OF PRIVILEGED, PROTECTED,
                  OR OTHER MATERIAL IMMUNE FROM DISCOVERY

         26.     Pursuant to Federal Rule of Evidence 502, the production or disclosure of

   a Document containing material subject to a claim of privilege (as defined in this Order)

   shall not constitute a waiver, in this or any other federal or state proceeding, of any
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   privilege applicable to that Document or the material contained in that Document --

   even if the producing Party or Non-Party made no effort to prevent the disclosure. A

   producing Party’s or Non-Party’s use of its own Document (e.g., as a deposition exhibit)

   containing material subject to a claim of privilege shall not constitute a waiver of any

   applicable privilege unless the Party affirmatively uses or relies upon the specific

   material contained in the Document that is subject to the claim of privilege.

         27.    A producing Party or Non-Party may, at any time, demand that a

   receiving Party return or destroy a Document containing material subject to a good-

   faith claim of privilege. The demand shall be made in writing and shall identify the

   Document to be returned or destroyed by Bates range whenever possible. Within

   twenty-one (21) days of receiving such a demand, a receiving Party shall certify in

   writing that (1) it has returned, destroyed, or otherwise sequestered all copies or

   versions of the Documents requested to be returned or destroyed and that the receiving

   Party shall not attempt to examine, review, or use such Documents without further

   order of the Court permitting such activity; and (2) the receiving Party has deleted or

   sequestered from its work product or other materials any information or material

   derived from the Documents requested to be returned or destroyed. Within twenty-one

   (21) days of receipt of the receiving Party’s certification, a producing Party or Non-Party

   shall provide a privilege log for any Documents demanded to be returned as well as

   redacted versions of any of those Documents that contain both privileged and non-


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   privileged information and placeholder images for Documents containing exclusively

   privileged information.

         28.     After receipt of the producing Party’s or Non-Party’s privilege log and a

   good faith effort to meet and confer, a receiving Party may seek appropriate relief

   through the Court’s Discovery Procedures Order. [ECF No. 80, p. 8]. Unless ordered by

   the Court, a requesting Party may not use any information contained in the Document

   that has been clawed back for any purpose, unless that same information is available

   from a non-privileged source.

         29.     If a receiving Party receives Documents that it has reason to believe are

   subject to a good faith claim of privilege, then the receiving Party must refrain from

   examining the Documents any more than is essential to ascertain if the materials are

   reasonably subject to a privilege claim. The receiving Party shall promptly notify the

   producing Party or Non-Party in writing that the receiving Party possesses material that

   appears to be privileged or otherwise protected from disclosure. The producing Party

   or Non-Party shall have twenty-one (21) days, or such other time as the Parties or Non-

   Parties may agree or the Court may order, to assert privilege over the material

   identified by the requesting Party. If, within the time allowed, the producing Party or

   Non-Party does not assert privilege, then the material in question shall be deemed non-

   privileged.




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                             MISCELLANEOUS PROVISIONS

         30.     Nothing contained in this Order shall be construed as an admission that

   any Document or information, or any testimony relating to such Document or

   information, is or would be admissible in evidence in this Action or in any other

   proceeding.

         31.     Nothing contained in this Order shall affect the rights of the Parties or

   Non-Parties to object to discovery, nor shall it relieve a Party or Non-Party of its

   obligation to properly respond or object to discovery requests, nor shall it preclude any

   Party or Non-Party from seeking further relief or protective orders from the Court as

   may be appropriate under the Federal Rules of Civil Procedure and the Court’s

   Discovery Procedures Order. [ECF No. 80, p. 8].

         32.     The parties to the Action reserve all rights to apply to the Court for any

   order modifying this Order, seeking greater access to Protected Materials than those

   provided herein.

         33.     Nothing contained in this Order shall affect the ability of the Parties to

   alter the time periods set forth in this Order by agreement.

         34.     Any person or entity requiring further confidentiality protection may

   petition the Court for a separate order governing disclosure of its information.

         35.     When serving subpoenas on Non-Parties, a copy of this Order (including

   Exhibit A) shall be included with the subpoena, and the subpoena shall expressly


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   incorporate by reference the terms of this Order.

          36.    The provisions of this Order shall survive the conclusion of the Action.

                              COMPLETION OF LITIGATION

          37.    Within thirty (30) days after the resolution of the Action (including

   resolution of all appellate proceedings), all Documents and copies of all Documents

   (other than exhibits of record) produced or supplied by a Party or Non-Party which

   contain Protected Material shall be either destroyed or returned to the Party or Non-

   Party that produced or supplied the Protected Material. Upon request of the Party or

   Non-Party that produced or supplied the Protected Material, all counsel of record who

   received such Documents shall certify compliance herewith and shall deliver the same

   to counsel for the Party or Non-Party that produced or supplied the Protected Material

   not more than thirty (30) days after the final resolution of the Action (including

   resolution of all appellate proceedings).

          DONE AND ORDERED in Chambers, in Miami, Florida, on December 12, 2017.




   Copies furnished to:
   The Honorable Jose E. Martinez
   All counsel of record




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                                          EXHIBIT A

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                         CASE NO. 16-CV-23901-MARTINEZ/GOODMAN

   KRISTIAN ZAMBER,

            Plaintiff,

   v.

   AMERICAN AIRLINES, INC.,

         Defendant.
   ______________________________/

                         ACKNOWLEDGMENT OF PROTECTIVE ORDER

            I hereby certify that I have received a copy of the Order Governing the Use and

   Disclosure of Confidential Information, dated _____ (the “Order”). I further certify that

   I have read or that I am otherwise familiar with and understand the contents of the

   Order.

            I understand and agree to comply with the standards, requirements, and

   procedures that are set forth in the Order. I understand that compliance with these

   standards, requirements, and procedures is a condition of receipt of Confidential

   Material or Highly Confidential Material (as defined in the Order), and that a failure to

   comply with the Order may constitute contempt of the Court and/or a violation of

   applicable law.
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            I agree to consent to the jurisdiction of this Court for the purpose of enforcing the

   Order.




                                 Signature: ______________________________________

                                 Printed Name: ___________________________________

                                 Date: ___________________________________________

                                 Address: ________________________________________

                                 Telephone: ______________________________________




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                     EXHIBIT B
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    CASE NO.: 18-cv-81258-DMM


   JUDITH MARILYN DONOFF
   on behalf of herself and all others
   similarly situated,

          Plaintiffs,

   v.                                                                  CLASS ACTION

   DELTA AIR LINES, INC.,

         Defendant.
   ____________________________________/

        MOTION FOR ENTRY OF PROTECTIVE ORDER TO GOVERN DISCOVERY

          Plaintiff Judith Donoff (“Plaintiff” or “Ms. Donoff”), pursuant to Federal Rule of Civil

   Procedure 26(c), Federal Rule of Evidence 502, and Local Rules 7.1 and 26.1 of the United

   States District Court for the Southern District of Florida, respectfully moves this Court for entry

   of a protective order to govern the use and disclosure of all confidential and/or privileged

   information, documents, or materials produced in this action, and in support thereof state as

   follows:

                                     MEMORANDUM OF LAW

          1.      Under Federal Rule of Civil Procedure 26(c), a court may issue a protective order

   that requires “that a trade secret or other confidential research, development, or commercial

   information not be revealed or be revealed only in a specified way[.]”           Fed. R. Civ. P.

   26(c)(1)(G). A court, however, may only issue a protective order “for good cause.” Fed. R. Civ.

   P. 26(c)(1).
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             2.   During the parties’ conferral process that preceded this motion, counsel for the

   Defendant (“Delta”) advised Plaintiff’s counsel that they expected that certain documents

   produced and testimony taken in this matter may involve inquiries into the confidential,

   proprietary, or sensitive business information of Delta and non-parties. Delta thus represented to

   Plaintiff’s counsel that there was cause for the Court to enter a protective order in this case to

   avoid the unnecessary disclosure of this information. See Chicago Tribune Co. v.

   Bridgestone/Firestone Inc., 263 F.3d 1304, 1313–14 (11th Cir. 2001) (finding good cause for

   entry of a protective order in order to protect proprietary corporate information).

             3.   Based upon Delta’s representations, counsel prepared the protective order

   attached as Exhibit 1, which is based on the model confidentiality order used in federal district

   courts in the Northern District of Illinois. See N.D. Ill. Local Rule (“LR”) Form 26.2 (attached

   as Exhibit 2). A protective order substantively the same as Plaintiff’s proposed order is being

   submitted to the court for approval in the highly related matter of Flores v. United Airlines, Inc.,

   18-cv-06571 (N.D. Ill.).

             4.   Plaintiff’s proposed Order Governing the Use and Disclosure of Confidential

   Information, attached as Exhibit 1, provides a comprehensive framework within which the

   parties may categorize, use, disclose, and challenge the confidentiality designations of

   documents, materials, and other information that has or will be produced or disclosed in this

   Action.

             5.   The order allows for both Delta and non-parties to designate documents or

   deposition testimony as confidential under the order, with resulting restrictions on the individuals

   who may review any material so designated. Moreover, the order incorporates the provisions of

   S.D. Fla. L.R. 5.4 related to motions to file material under seal, in the event that a party or non-
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   party believes in good faith that materials produced in discovery should be submitted to this

   Court under seal. As a result, the Plaintiff believes that the proposed Order will sufficiently

   protect the confidential, proprietary, or sensitive business information of Delta and non-parties.

          6.      During the conferral process that preceded this motion, counsel for Delta

   proposed a protective order that had multiple tiers of confidentiality designations. 1 Plaintiff

   cannot agree to such an order, and Plaintiff’s counsel could not locate a model protective order in

   any federal district that contained multiple confidentiality tiers. Such an order allows a party to

   dramatically over-designate its discovery materials with some form of “confidential” label. For

   example, in the matter of Zamber v. American Airlines, Inc., 16-cv-23901 (S.D. Fla.), the

   operative protective order had two confidentiality tiers (“Confidential” and “Highly

   Confidential”), and American Airlines designated nearly 99% of its entire production with some

   confidentiality designation, and certain third-parties designated 100% of their productions

   confidential. This resulted in unnecessary litigation and expenditures of the presiding court’s

   time to redress the dramatic over-designations.

          7.      Therefore, Plaintiff’s proposed order balances the need for protection for

   documents or testimony designated in good faith, while simultaneously guarding against

   overzealous designations and abuse of the designation process. See Stiles v. Equifax Info. Servs.

   LLC, No. 9:16-CV-81488-DMM, 2017 WL 65884, at *1 (S.D. Fla. Jan. 4, 2017) (“Experian

   argues that the Protective Order inappropriately provides that the Court may sanction a party for

   an unjustified or improper confidentiality designation, as well as a frivolous challenge to a



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    Counsel for Defendant also represents JetBlue Airways Corporation in 18-cv-62193 (S.D. Fla),
   and proposed the same protective order in that matter, over which the parties’ conferred
   extensively.
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   confidentiality designation. The Court finds that these provisions preserve the Court’s discretion

   in imposing sanctions and serve the important purpose of preventing the Parties from abusing the

   Protective Order.”) (entering proposed protective order predicated upon model order from

   Northern District of California) (Middlebrooks, J.).

          WHEREFORE, based upon Delta’s representations to Plaintiff’s counsel, Plaintiff

   respectfully requests that this Court enter the proposed Order Governing the Use and Disclosure

   of Confidential Information attached hereto as Exhibit 1.

                                 CERTIFICATE OF CONFERRAL

          Pursuant to Local Rule 7.1(a)(3)(B), counsel for Plaintiff extensively conferred with

   counsel for Delta regarding the entry of a proposed Order both through telephonic and electronic

   means. Although counsel for Delta agrees with the entry of a protective order, they oppose entry

   of this particular proposed Order.



   Dated: November 16, 2018                         Respectfully submitted,

                                                    s/ Alec H. Schultz
                                                    Scott B. Cosgrove
                                                     Florida Bar No. 161365
                                                    Alec H. Schultz
                                                     Florida Bar No. 35022
                                                    John R. Byrne
                                                     Florida Bar No. 126294
                                                    Jeremy L. Kahn
                                                     Florida Bar No. 105277
                                                    LEÓN COSGROVE, LLP
                                                    255 Alhambra Circle, Suite 800
                                                    Coral Gables, Florida 33134
                                                    Telephone: 305.740.1975
                                                    Facsimile: 305.437.8158
                                                    Email: scosgrove@leoncosgrove.com
                                                    Email: aschultz@leoncosgrove.com
                                                    Email: jbyrne@leoncosgrove.com
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                                         Email: jkahn@leoncosgrove.com

                                         Counsel for Plaintiff and the Class




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Case
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 16, 2018, I electronically filed the foregoing

   with the Clerk of Court using CM/ECF system which in turn will serve a copy by electronic mail

   to all counsel of record.

   Lazaro Fernandez, Jr.                       Gayle I. Jenkins, Esq. (Pro Hac Vice)
   Fla. Bar No. 716545                         WINSTON & STRAWN LLP
   Denise B. Crockett                          333 South Grand Avenue, 38th Floor
   Fla. Bar No. 327913                         Los Angeles, CA 90071-1543
   STACK FERNANDEZ & HARRIS, P.A.              Tel: (213) 615-1863
   1001 Brickell Bay Drive, Suite 2650         Email: gjenkins@winston.com
   Miami, Florida 33131                        Email: rsalyer@winston.com
   Tel: (305) 371-0001                         Email: docketla@winston.com
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   Email: dcrockett@stackfernandez.com         Inc.
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   Email: mwolf@stackfernandez.com
   Attorneys for Defendant, Delta Air Lines,
   Inc.


                                                  /s/ Alec H. Schultz
                                                     Alec H. Schultz




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                        EXHIBIT 1
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                     CASE NO.: 18-cv-81258-DMM


   JUDITH MARILYN DONOFF
   on behalf of herself and all others
   similarly situated,

          Plaintiffs,

   v.                                                                  CLASS ACTION

   DELTA AIR LINES, INC.,

         Defendant.
   ____________________________________/

                        PROTECTIVE ORDER GOVERNING DISCOVERY

          For good cause shown, it is ORDERED:

          1.       Scope. All materials produced or adduced in the course of discovery, whether

   by a party or a non-party, including initial disclosures, responses to discovery requests,

   deposition testimony and exhibits, and information derived directly therefrom (hereinafter

   collectively “documents”), shall be subject to this Order concerning Confidential Information as

   defined below. This Order is subject to the Local Rules of this District and the Federal Rules of

   Civil Procedure on matters of procedure and calculation of time periods.

          2.       Confidential Information. As used in this Order, “Confidential Information”

   means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER”

   by the producing party or non-party that falls within one or more of the following categories:

   (a) information prohibited from disclosure by statute; (b) information that reveals trade secrets;

   (c) research, technical, commercial or financial information that the party has maintained as

   confidential;   (d) medical information concerning any individual; (e) personal identity

   information, including personal financial information; (f) income tax returns (including attached
Case 9:18-cv-81258-DMM
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   schedules and forms), W-2 forms and 1099 forms; (g) personnel or employment records of a

   person who is not a party to the case, or (h) information that is subject to contractual

   confidentiality obligations to third parties. Information or documents that are available to the

   public may not be designated as Confidential Information.

          3.      Designation.

                  (a)    A party or non-party may designate a document as Confidential

   Information for protection under this Order by placing or affixing the words “CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a manner that will

   not interfere with the legibility of the document. As used in this Order, “copies” includes

   electronic images, duplicates, extracts, summaries or descriptions that contain the Confidential

   Information. The marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall

   be applied prior to or at the time the documents are produced or disclosed. Applying the marking

   “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that

   the document has any status or protection by statute or otherwise except to the extent and for the

   purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

   databases or lists of documents that do not contain substantial portions or images of the text of

   marked documents and do not otherwise disclose the substance of the Confidential Information

   are not required to be marked.

                  (b)    The designation of a document as Confidential Information is a

   certification by an attorney or a party appearing pro se that the document contains Confidential

   Information as defined in this order.1


          1
            An attorney who reviews the documents and designates them as CONFIDENTIAL -
   SUBJECT TO PROTECTIVE ORDER must be admitted to the Bar of at least one state but need
   not be admitted to practice in the Southern District of Florida unless the lawyer is appearing
   generally in the case on behalf of a party. By designating documents confidential pursuant to
Case 9:18-cv-81258-DMM
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           4.     Depositions. Unless all parties agree on the record at the time the deposition

   testimony is taken, all deposition testimony taken in this case shall be treated as Confidential

   Information until the expiration of the 20th day after the transcript is delivered to any party or the

   witness. Within this time period, a party or non-party may serve a Notice of Designation to all

   parties of record as to specific portions of the testimony that are designated Confidential

   Information, and thereafter only those portions identified in the Notice of Designation shall be

   protected by the terms of this Order. The failure to serve a timely Notice of Designation shall

   waive any designation of testimony taken in that deposition as Confidential Information, unless

   otherwise ordered by the Court. This provision shall not affect a witness’s right under Federal

   Rule of Civil Procedure 30(e) to review his or her deposition transcript for correctness and to

   sign any corrections to the deposition.

           5.     Protection of Confidential Material.

                  (a)      General Protections. Confidential Information shall not be used or

   disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

   (b) for any purpose whatsoever other than in this litigation, including any appeal thereof.

   Confidential Information may be disclosed only to the named plaintiff(s) and not to any other

   member of the putative class unless and until a class including the putative member has been

   certified.

                  (b)      Limited Third-Party Disclosures. The parties and counsel for the

   parties shall not disclose or permit the disclosure of any Confidential Information to any third

   person or entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the

   following categories of persons may be allowed to review Confidential Information:

                           i.     Counsel. Counsel for the parties and employees of counsel who

   this Order, counsel submits to the jurisdiction and sanctions of this Court on the subject matter
   of the designation.
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                                  have responsibility for the action;

                          ii.     Parties. Individual parties and employees of a party but only to
                                  the extent counsel determines in good faith that the employee’s
                                  assistance is reasonably necessary to the conduct of the litigation
                                  in which the information is disclosed;

                         iii.     The Court and its personnel;

                         iv.      Court Reporters and Recorders. Court reporters and recorders
                                  engaged for depositions;

                          v.      Contractors. Those persons specifically engaged for the limited
                                  purpose of making copies of documents or organizing or
                                  processing documents, including outside vendors hired to process
                                  electronically stored documents;

                         vi.      Consultants and Experts. Consultants, investigators, or experts
                                  employed by the parties or counsel for the parties to assist in the
                                  preparation and trial of this action but only after such persons have
                                  completed the certification contained in Attachment A,
                                  Acknowledgment of Understanding and Agreement to Be Bound;

                        vii.      Witnesses at depositions. During their depositions, witnesses in
                                  this action to whom disclosure is reasonably necessary. Witnesses
                                  shall not retain a copy of documents containing Confidential
                                  Information, except witnesses may receive a copy of all exhibits
                                  marked at their depositions in connection with review of the
                                  transcripts. Pages of transcribed deposition testimony or exhibits
                                  to depositions that are designated as Confidential Information
                                  pursuant to the process set out in this Order must be separately
                                  bound by the court reporter and may not be disclosed to anyone
                                  except as permitted under this Order;

                        viii.     Author or recipient. The author or recipient of the document
                                  (not including a person who received the document in the course
                                  of litigation); and

                         ix.      Others by Consent. Other persons only by written consent of the
                                  producing party or upon order of the Court and on such conditions
                                  as may be agreed or ordered.

                  (c)      Control of Documents. Counsel for the parties shall make reasonable

   efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

   shall maintain the originals of the forms signed by persons acknowledging their obligations

   under this Order for a period of three years after the termination of the case.
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          6.       Inadvertent Failure to Designate.         An inadvertent failure to designate a

   document as Confidential Information does not, standing alone, waive the right to so designate

   the document; provided, however, that a failure to serve a timely Notice of Designation of

   deposition testimony as required by this Order, even if inadvertent, waives any protection for

   deposition testimony. If a party or non-party designates a document as Confidential Information

   after it was initially produced, the receiving party, on notification of the designation, must make

   a reasonable effort to assure that the document is treated in accordance with the provisions of

   this Order. No party shall be found to have violated this Order for failing to maintain the

   confidentiality of material during a time when that material has not been designated Confidential

   Information, even where the failure to so designate was inadvertent and where the material is

   subsequently designated Confidential Information.

          7.       Non-Waiver of Privilege. Pursuant to Federal Rule of Evidence 502(d), the

   production of a document otherwise subject to protection under the attorney-client privilege,

   work product doctrine, or any other privilege recognized by applicable law shall not in itself be

   deemed to be a waiver of that privilege in this matter or in any other proceeding. Any party or

   non-party who discovers that a protected document was produced shall notify the other parties

   within 14 business days of discovery of its production. The parties to whom the document was

   produced shall return all copies, whether in hard copy or electronic form, of that document to the

   producing party or non-party. If requested by the receiving party, the producing party shall

   provide a replacement copy of the production media with the privileged document and all related

   data removed.

          8.       Filing of Confidential Information. This Order does not, by itself, authorize

   the filing of any document under seal. Any party wishing to file a document designated as

   Confidential Information in connection with a motion, brief or other submission to the Court
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   must comply with LR 5.4. It shall be the burden of the party or non-party who has designated a

   document or deposition transcript as Confidential Information under this Order to provide the

   legal basis in support of a motion to seal, should the Court require it.

          9.      No Greater Protection of Specific Documents. Except on privilege grounds

   not addressed by this Order, no party may withhold information from discovery on the ground

   that it requires protection greater than that afforded by this Order unless the party moves for an

   order providing such special protection.

          10.     Challenges by a Party to Designation as Confidential Information. The

   designation of any material or document as Confidential Information is subject to challenge by

   any party. The following procedure shall apply to any such challenge.

                  (a)     Meet and Confer. A party challenging the designation of Confidential

   Information must do so in good faith and must begin the process by conferring directly with

   counsel for the designating party or non-party. In conferring, the challenging party must explain

   the basis for its belief that the confidentiality designation was not proper and must give the

   designating party an opportunity to review the designated material, to reconsider the designation,

   and, if no change in designation is offered, to explain the basis for the designation. The

   designating party or non-party must respond to the challenge within five (5) business days.

                  (b)     Judicial Intervention. A party that elects to challenge a confidentiality

   designation may file and serve a motion that identifies the challenged material and sets forth in

   detail the basis for the challenge. Each such motion must be accompanied by a competent

   declaration that affirms that the movant has complied with the meet and confer requirements of

   this procedure. The burden of persuasion in any such challenge proceeding shall be on the

   designating party or non-party. Until the Court rules on the challenge, all parties shall continue

   to treat the materials as Confidential Information under the terms of this Order.
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          11.     Action by the Court.        Applications to the Court for an order relating to

   materials or documents designated Confidential Information shall be by motion. Nothing in this

   Order or any action or agreement of a party under this Order limits the Court’s power to make

   orders concerning the disclosure of documents produced in discovery or at trial.

          12.     Use of Confidential Documents or Information at Trial. Nothing in this

   Order shall be construed to affect the use of any document, material, or information at any trial

   or hearing. A party that intends to present or that anticipates that another party may present

   Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

   attention by motion or in a pretrial memorandum without disclosing the Confidential

   Information. The Court may thereafter make such orders as are necessary to govern the use of

   such documents or information at trial.

          13.     Confidential Information Subpoenaed or Ordered Produced in Other

   Litigation.

                  (a)    If a receiving party is served with a subpoena or an order issued in other

   litigation that would compel disclosure of any material or document designated in this action as

   Confidential Information, the receiving party must so notify the designating party or non-party,

   in writing, immediately and in no event more than three court days after receiving the subpoena

   or order. Such notification must include a copy of the subpoena or court order.

                  (b)    The receiving party also must immediately inform in writing the party

   who caused the subpoena or order to issue in the other litigation that some or all of the material

   covered by the subpoena or order is the subject of this Order. In addition, the receiving party

   must deliver a copy of this Order promptly to the party in the other action that caused the

   subpoena to issue.

                  (c)    The purpose of imposing these duties is to alert the interested persons to
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   the existence of this Order and to afford the designating party in this case an opportunity to try to

   protect its Confidential Information in the court from which the subpoena or order issued. The

   designating party shall bear the burden and the expense of seeking protection in that court of its

   Confidential Information, and nothing in these provisions should be construed as authorizing or

   encouraging a receiving party in this action to disobey a lawful directive from another court.

   The obligations set forth in this paragraph remain in effect while the party has in its possession,

   custody or control Confidential Information by the other party to this case.

             14.   Challenges by Members of the Public to Sealing Orders.                  A party or

   interested member of the public has a right to challenge the sealing of particular documents that

   have been filed under seal, and the party or non-party asserting confidentiality will have the

   burden of demonstrating the propriety of filing under seal.

             15.   Obligations on Conclusion of Litigation.

                   (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

   Order shall remain in force after dismissal or entry of final judgment not subject to further

   appeal.

                   (b)    Obligations at Conclusion of Litigation. Within ninety days after

   dismissal or entry of final judgment not subject to further appeal, all Confidential Information

   and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this

   Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1)

   the document has been offered into evidence or filed without restriction as to disclosure; (2) the

   parties agree to destruction to the extent practicable in lieu of return; or (3) as to documents

   bearing the notations, summations, or other mental impressions of the receiving party, that party

   elects to destroy the documents and certifies to the producing party that it has done so.

                   (c)    Retention of Work Product and one set of Filed Documents.
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   Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

   attorney work product, including an index that refers or relates to designated Confidential

   Information so long as that work product does not duplicate verbatim substantial portions of

   Confidential Information, and (2) one complete set of all documents filed with the Court

   including those filed under seal. Any retained Confidential Information shall continue to be

   protected under this Order. An attorney may use his or her work product in subsequent litigation,

   provided that its use does not disclose or use Confidential Information.

                   (d)   Deletion of Documents filed under Seal from Electronic Case

   Filing (ECF) System. Filings under seal shall be deleted from the ECF system only upon order

   of the Court.

          16.      Order Subject to Modification. This Order shall be subject to modification

   by the Court on its own initiative or on motion of a party or any other person with standing

   concerning the subject matter.

          17.      No Prior Judicial Determination. This Order is entered based on the

   representations and agreements of the parties and for the purpose of facilitating discovery.

   Nothing herein shall be construed or presented as a judicial determination that any document or

   material designated Confidential Information by counsel or the parties is entitled to protection

   under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

   Court may rule on a specific document or issue.

          18.      Persons Bound. This Order shall take effect when entered and shall be binding

   upon all counsel of record and their law firms, the parties, and persons made subject to this

   Order by its terms.
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         So Ordered.


   Dated: _______________, 2018
                                              The Honorable Donald M. Middlebrooks
                                              United States District Judge
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                                          ATTACHMENT A
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION

                                     CASE NO.: 18-cv-81258-DMM


   JUDITH MARILYN DONOFF
   on behalf of herself and all others
   similarly situated,

            Plaintiffs,

   v.                                                                  CLASS ACTION

   DELTA AIR LINES, INC.,

         Defendant.
   ____________________________________/


                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

             The undersigned hereby acknowledges that he/she has read the Confidentiality Order

    dated                                                 in the above-captioned action and attached

    hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned

    submits to the jurisdiction of the United States District Court for the Southern District of Florida

    in matters relating to the Confidentiality Order and understands that the terms of the

    Confidentiality Order obligate him/her to use materials designated as Confidential Information in

    accordance with the Order solely for the purposes of the above-captioned action, and not to

    disclose any such Confidential Information to any other person, firm or concern.
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            The undersigned acknowledges that violation of the Confidentiality Order may

    result in penalties for contempt of court.



    Name:

    Job Title:

    Employer:

    Business Address:




    Date:

                                           Signature
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                        EXHIBIT 2
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                                       Form LR 26.2
                               MODEL CONFIDENTIALITY ORDER


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

                                              )
                                              )
                  Plaintiff                   )
                                              )
                          v.                  )             Civil No.
                                              )             District Judge
                                              )             Magistrate Judge
                                              )
                  Defendant                   )

                                [Agreed]1 Confidentiality Order

           [if by agreement] The parties to this Agreed Confidentiality Order have agreed

    to the terms of this Order; accordingly, it is ORDERED:

           [if not fully agreed] A party to this action has moved that the Court enter a

    confidentiality order. The Court has determined that the terms set forth herein are

    appropriate to protect the respective interests of the parties, the public, and the Court.

    Accordingly, it is ORDERED:

           1.     Scope. All materials produced or adduced in the course of discovery,

    including initial disclosures, responses to discovery requests, deposition testimony and

    exhibits, and information derived directly therefrom (hereinafter collectively



           1       Counsel should include or delete language in brackets as necessary to
    the specific case. Any other changes to this model order must be shown by
    redlining that indicates both deletions and additions to the model text. Counsel
    may also modify this model order as appropriate for the circumstances of the case.
    This model order is for the convenience of the parties and the court and not intended to
    create a presumption in favor of the provisions in this model order and against
    alternative language proposed by the parties. The court will make the final decision on
    the terms of any order notwithstanding the agreement of the parties.
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    “documents”), shall be subject to this Order concerning Confidential Information as

    defined below. This Order is subject to the Local Rules of this District and the Federal

    Rules of Civil Procedure on matters of procedure and calculation of time periods.

           2.      Confidential Information. As used in this Order, “Confidential

    Information” means information designated as “CONFIDENTIAL-SUBJECT TO

    PROTECTIVE ORDER” by the producing party that falls within one or more of the

    following categories: (a) information prohibited from disclosure by statute; (b)

    information that reveals trade secrets; (c) research, technical, commercial or financial

    information that the party has maintained as confidential; (d) medical information

    concerning any individual; (e) personal identity information; (f) income tax returns

    (including attached schedules and forms), W-2 forms and 1099 forms; or (g) personnel

    or employment records of a person who is not a party to the case.2 Information or

    documents that are available to the public may not be designated as Confidential

    Information.

           3.      Designation.

                   (a)   A party may designate a document as Confidential Information for

    protection under this Order by placing or affixing the words “CONFIDENTIAL -

    SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a manner

    that will not interfere with the legibility of the document. As used in this Order, “copies”

    includes electronic images, duplicates, extracts, summaries or descriptions that contain



           2     If protection is sought for any other category of information, the additional
    category shall be described in paragraph 2 with the additional language redlined to
    show the change in the proposed Order.

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    the Confidential Information. The marking “CONFIDENTIAL - SUBJECT TO

    PROTECTIVE ORDER” shall be applied prior to or at the time of the documents are

    produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT TO

    PROTECTIVE ORDER” to a document does not mean that the document has any

    status or protection by statute or otherwise except to the extent and for the purposes of

    this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

    SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices,

    electronic databases or lists of documents that do not contain substantial portions or

    images of the text of marked documents and do not otherwise disclose the substance

    of the Confidential Information are not required to be marked.

                  (b)    The designation of a document as Confidential Information is a

    certification by an attorney or a party appearing pro se that the document contains

    Confidential Information as defined in this order.3

           4.     Depositions.4

           Alternative A. Deposition testimony is protected by this Order only if designated

    as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the record at the time

    the testimony is taken. Such designation shall be specific as to the portions that contain


            3      An attorney who reviews the documents and designates them as
    CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER must be admitted to the Bar of
    at least one state but need not be admitted to practice in the Northern District of Illinois
    unless the lawyer is appearing generally in the case on behalf of a party. By
    designating documents confidential pursuant to this Order, counsel submits to the
    jurisdiction and sanctions of this Court on the subject matter of the designation.

           4    The parties or movant seeking the order shall select one alternative for
    handling deposition testimony and delete by redlining the alternative provision that is
    not chosen.

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    Confidential Information. Deposition testimony so designated shall be treated as

    Confidential Information protected by this Order until fourteen days after delivery of the

    transcript by the court reporter to any party or the witness. Within fourteen days after

    delivery of the transcript, a designating party may serve a Notice of Designation to all

    parties of record identifying the specific portions of the transcript that are designated

    Confidential Information, and thereafter those portions identified in the Notice of

    Designation shall be protected under the terms of this Order. The failure to serve a

    timely Notice of Designation waives any designation of deposition testimony as

    Confidential Information that was made on the record of the deposition, unless

    otherwise ordered by the Court.

             Alternative B. Unless all parties agree on the record at the time the deposition

    testimony is taken, all deposition testimony taken in this case shall be treated as

    Confidential Information until the expiration of the following: No later than the fourteenth

    day after the transcript is delivered to any party or the witness, and in no event later

    than 60 days after the testimony was given, Within this time period, a party may serve

    a Notice of Designation to all parties of record as to specific portions of the testimony

    that are designated Confidential Information, and thereafter only those portions

    identified in the Notice of Designation shall be protected by the terms of this Order. The

    failure to serve a timely Notice of Designation shall waive any designation of testimony

    taken in that deposition as Confidential Information, unless otherwise ordered by the

    Court.




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           5.      Protection of Confidential Material.

                   (a)   General Protections. Confidential Information shall not be used

    or disclosed by the parties, counsel for the parties or any other persons identified in

    subparagraph (b) for any purpose whatsoever other than in this litigation, including any

    appeal thereof. [INCLUDE IN PUTATIVE CLASS ACTION CASE: In a putative class

    action, Confidential Information may be disclosed only to the named plaintiff(s) and not

    to any other member of the putative class unless and until a class including the putative

    member has been certified.]

                   (b)   Limited Third-Party Disclosures. The parties and counsel for the

    parties shall not disclose or permit the disclosure of any Confidential Information to any

    third person or entity except as set forth in subparagraphs (1)-(9). Subject to these

    requirements, the following categories of persons may be allowed to review Confidential

    Information:

                   (1)   Counsel. Counsel for the parties and employees of counsel who
                         have responsibility for the action;

                   (2)   Parties. Individual parties and employees of a party but only to the
                         extent counsel determines in good faith that the employee’s
                         assistance is reasonably necessary to the conduct of the litigation
                         in which the information is disclosed;

                   (3)   The Court and its personnel;

                   (4)   Court Reporters and Recorders. Court reporters and recorders
                         engaged for depositions;

                   (5)   Contractors. Those persons specifically engaged for the limited
                         purpose of making copies of documents or organizing or
                         processing documents, including outside vendors hired to process
                         electronically stored documents;



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                 (6)    Consultants and Experts. Consultants, investigators, or experts
                        employed by the parties or counsel for the parties to assist in the
                        preparation and trial of this action but only after such persons have
                        completed the certification contained in Attachment A,
                        Acknowledgment of Understanding and Agreement to Be Bound;

                 (7)    Witnesses at depositions. During their depositions, witnesses in
                        this action to whom disclosure is reasonably necessary. Witnesses
                        shall not retain a copy of documents containing Confidential
                        Information, except witnesses may receive a copy of all exhibits
                        marked at their depositions in connection with review of the
                        transcripts. Pages of transcribed deposition testimony or exhibits
                        to depositions that are designated as Confidential Information
                        pursuant to the process set out in this Order must be separately
                        bound by the court reporter and may not be disclosed to anyone
                        except as permitted under this Order.

                 (8)    Author or recipient. The author or recipient of the document (not
                        including a person who received the document in the course of
                        litigation); and

                 (9)    Others by Consent. Other persons only by written consent of the
                        producing party or upon order of the Court and on such conditions
                        as may be agreed or ordered.

                 (c)    Control of Documents. Counsel for the parties shall make

    reasonable efforts to prevent unauthorized or inadvertent disclosure of Confidential

    Information. Counsel shall maintain the originals of the forms signed by persons

    acknowledging their obligations under this Order for a period of three years after the

    termination of the case.

          6.     Inadvertent Failure to Designate. An inadvertent failure to designate a

    document as Confidential Information does not, standing alone, waive the right to so

    designate the document; provided, however, that a failure to serve a timely Notice of

    Designation of deposition testimony as required by this Order, even if inadvertent,

    waives any protection for deposition testimony. If a party designates a document as


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    Confidential Information after it was initially produced, the receiving party, on notification

    of the designation, must make a reasonable effort to assure that the document is

    treated in accordance with the provisions of this Order. No party shall be found to have

    violated this Order for failing to maintain the confidentiality of material during a time

    when that material has not been designated Confidential Information, even where the

    failure to so designate was inadvertent and where the material is subsequently

    designated Confidential Information.

           7.     Filing of Confidential Information. This Order does not, by itself,

    authorize the filing of any document under seal. Any party wishing to file a document

    designated as Confidential Information in connection with a motion, brief or other

    submission to the Court must comply with LR 26.2.

           8.     No Greater Protection of Specific Documents. Except on privilege

    grounds not addressed by this Order, no party may withhold information from discovery

    on the ground that it requires protection greater than that afforded by this Order unless

    the party moves for an order providing such special protection.

           9.     Challenges by a Party to Designation as Confidential Information.

    The designation of any material or document as Confidential Information is subject to

    challenge by any party. The following procedure shall apply to any such challenge.

                  (a)    Meet and Confer. A party challenging the designation of

    Confidential Information must do so in good faith and must begin the process by

    conferring directly with counsel for the designating party. In conferring, the challenging

    party must explain the basis for its belief that the confidentiality designation was not



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    proper and must give the designating party an opportunity to review the designated

    material, to reconsider the designation, and, if no change in designation is offered, to

    explain the basis for the designation. The designating party must respond to the

    challenge within five (5) business days.

                   (b)       Judicial Intervention. A party that elects to challenge a

    confidentiality designation may file and serve a motion that identifies the challenged

    material and sets forth in detail the basis for the challenge. Each such motion must be

    accompanied by a competent declaration that affirms that the movant has complied

    with the meet and confer requirements of this procedure. The burden of persuasion in

    any such challenge proceeding shall be on the designating party. Until the Court rules

    on the challenge, all parties shall continue to treat the materials as Confidential

    Information under the terms of this Order.

           10.     Action by the Court. Applications to the Court for an order relating to

    materials or documents designated Confidential Information shall be by motion.

    Nothing in this Order or any action or agreement of a party under this Order limits the

    Court’s power to make orders concerning the disclosure of documents produced in

    discovery or at trial.

           11.     Use of Confidential Documents or Information at Trial. Nothing in this

    Order shall be construed to affect the use of any document, material, or information at

    any trial or hearing. A party that intends to present or that anticipates that another party

    may present Confidential information at a hearing or trial shall bring that issue to the

    Court’s and parties’ attention by motion or in a pretrial memorandum without disclosing



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    the Confidential Information. The Court may thereafter make such orders as are

    necessary to govern the use of such documents or information at trial.

           12.    Confidential Information Subpoenaed or Ordered Produced in Other

    Litigation.

                  (a)    If a receiving party is served with a subpoena or an order issued in

    other litigation that would compel disclosure of any material or document designated in

    this action as Confidential Information, the receiving party must so notify the

    designating party, in writing, immediately and in no event more than three court days

    after receiving the subpoena or order. Such notification must include a copy of the

    subpoena or court order.

                  (b)    The receiving party also must immediately inform in writing the

    party who caused the subpoena or order to issue in the other litigation that some or all

    of the material covered by the subpoena or order is the subject of this Order. In

    addition, the receiving party must deliver a copy of this Order promptly to the party in

    the other action that caused the subpoena to issue.

                  (c)    The purpose of imposing these duties is to alert the interested

    persons to the existence of this Order and to afford the designating party in this case an

    opportunity to try to protect its Confidential Information in the court from which the

    subpoena or order issued. The designating party shall bear the burden and the

    expense of seeking protection in that court of its Confidential Information, and nothing

    in these provisions should be construed as authorizing or encouraging a receiving party

    in this action to disobey a lawful directive from another court. The obligations set forth



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    in this paragraph remain in effect while the party has in its possession, custody or

    control Confidential Information by the other party to this case.

           13.    Challenges by Members of the Public to Sealing Orders. A party or

    interested member of the public has a right to challenge the sealing of particular

    documents that have been filed under seal, and the party asserting confidentiality will

    have the burden of demonstrating the propriety of filing under seal.

           14.    Obligations on Conclusion of Litigation.

                  (a)    Order Continues in Force. Unless otherwise agreed or ordered,

    this Order shall remain in force after dismissal or entry of final judgment not subject to

    further appeal.

                  (b)    Obligations at Conclusion of Litigation. Within sixty-three days

    after dismissal or entry of final judgment not subject to further appeal, all Confidential

    Information and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE

    ORDER” under this Order, including copies as defined in ¶ 3(a), shall be returned to the

    producing party unless: (1) the document has been offered into evidence or filed

    without restriction as to disclosure; (2) the parties agree to destruction to the extent

    practicable in lieu of return;5 or (3) as to documents bearing the notations, summations,

    or other mental impressions of the receiving party, that party elects to destroy the

    documents and certifies to the producing party that it has done so.


           5       The parties may choose to agree that the receiving party shall destroy
    documents containing Confidential Information and certify the fact of destruction, and
    that the receiving party shall not be required to locate, isolate and return e-mails
    (including attachments to e-mails) that may include Confidential Information, or
    Confidential Information contained in deposition transcripts or drafts or final expert
    reports.

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                  (c)    Retention of Work Product and one set of Filed Documents.

    Notwithstanding the above requirements to return or destroy documents, counsel may

    retain (1) attorney work product, including an index that refers or relates to designated

    Confidential Information so long as that work product does not duplicate verbatim

    substantial portions of Confidential Information, and (2) one complete set of all

    documents filed with the Court including those filed under seal. Any retained

    Confidential Information shall continue to be protected under this Order. An attorney

    may use his or her work product in subsequent litigation, provided that its use does not

    disclose or use Confidential Information.

                  (d)    Deletion of Documents filed under Seal from Electronic Case

    Filing (ECF) System. Filings under seal shall be deleted from the ECF system only

    upon order of the Court.

           15.    Order Subject to Modification. This Order shall be subject to

    modification by the Court on its own initiative or on motion of a party or any other

    person with standing concerning the subject matter.

           16.    No Prior Judicial Determination. This Order is entered based on the

    representations and agreements of the parties and for the purpose of facilitating

    discovery. Nothing herein shall be construed or presented as a judicial determination

    that any document or material designated Confidential Information by counsel or the

    parties is entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure

    or otherwise until such time as the Court may rule on a specific document or issue.




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             17.   Persons Bound. This Order shall take effect when entered and shall be

    binding upon all counsel of record and their law firms, the parties, and persons made

    subject to this Order by its terms.

             So Ordered.



    Dated:                                  _________________________________
                                            U.S. District Judge
                                            U.S. Magistrate Judge



    [Delete signature blocks if not wholly by agreement]

    WE SO MOVE                                     WE SO MOVE
    and agree to abide by the                      and agree to abide by the
    terms of this Order                            terms of this Order


    ____________________________                   _____________________________
    Signature                                      Signature

    ____________________________                   _____________________________
    Printed Name                                   Printed Name


    Counsel for: ___________________               Counsel for: ____________________


    Dated:                                         Dated:




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                                         ATTACHMENT A


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS

                                               )
                                               )       Civil No.
                  Plaintiff                    )
                                               )
                                               )
                                               )
                  Defendant                    )



                                    ACKNOWLEDGMENT
                                          AND
                                  AGREEMENT TO BE BOUND


           The undersigned hereby acknowledges that he/she has read the Confidentiality

    Order dated ____________________________ in the above-captioned action and

    attached hereto, understands the terms thereof, and agrees to be bound by its terms.

    The undersigned submits to the jurisdiction of the United States District Court for the

    Northern District of Illinois in matters relating to the Confidentiality Order and

    understands that the terms of the Confidentiality Order obligate him/her to use materials

    designated as Confidential Information in accordance with the Order solely for the

    purposes of the above-captioned action, and not to disclose any such Confidential

    Information to any other person, firm or concern.
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            The undersigned acknowledges that violation of the Confidentiality Order may

    result in penalties for contempt of court.



    Name:         ______________________________________

    Job Title:    ______________________________________

    Employer:     ______________________________________

    Business Address:           ___________________________

                                ___________________________

                                ___________________________



    Date: _________________            ___________________________

                                       Signature



                                                                         Adopted 06/29/12
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                              UNITED STATES DISTRICT CO URT
                              SOUTHERN DISTRICT OF FLORIDA

                            C ase N o.: 18-81258-CV -M lD DLE BRO O K S

    JU D ITH M ARILYN D ON O FF,on behalf
    ofherselfand a11otherssim ilarly situated,

           Plaintiffs,



   D ELTA A IR LIN ES,IN C .,

           D efendant.



                              STIPU LA TE D PRO T ECTIV E O RD ER

          THIS CAU SE com es before the Court upon the Pm ies' Joint M otion for Entry of

   ProtediveOrderto Govern Discovery (DE 31),filed December5,2018 (ttM otion''). W hile I
   find good cause to enter the Stipulated Protective Order,lcaution thatthe m ere designation as

   ûlconfidential''by a party w ill not influence m y decision to seal a courtfiling on a subsequent

   m otion. If either party later seeks approvalto subm it a docum ent under seal, such party should

   supportamotiontofileundersealwiththespecificreasonsthatjustifyit.
          Pursuantto the LocalRules of the Southern District of Florida,ûtgulnless othenvise
   provided by law,Courtrule orCourtorder,proceedings in the United StatesDistrictCourtare

   public and Courtfilings are mattersofpublic record.'' S.D.Fla.L.R.5.4(a).Itis clearly
   establishedthatthegeneralpublicpossessesacommon-law rightto accessjudicialrecordsand
   thatjudicialrecordsarepresumedtobepubliedocuments.SeeNixonv.WarnerCommc'ns,Inc.,
   435U.S.589,597(1978)*
                       ,seealsoChicagoTribuneCo.v.Bridgestone/Firestone,Inc.,263F.3d
   1304,1311(11th Cir.2001).
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           Judieialreeordsarepresumedtobepublicdocumentsbecauseûigolnceamatterisbrought
    before a courtforresolution,itisno longersolely the parties'case, butalso the public'scase.''

    See Brown v.Advantage Eng '
                              g, Inc.,960 F.2d 1013, 1016 (11th Cir.1992). W ith respectto

    discovery material,Sûmaterialfiled with discovery motions isnotsubjectto the common-law
    rightofaccess,whereas discovery materialfiled in connection with pretrialm otionsthatrequire

   judicialresolutionofthemeritsissubjecttothecommon-law right.'' Chicago Tribune,263F.3d
    at 1312.

           tt-f'
               he com m on law right of access m ay be overcom e by a show ing of good cause, which

    requireslbalanclingltheasserted rightofaccessagainsttheotherparty'sinterestin keepingthe
    infonnation confidential.''' Romero v.Drummond Co., Inc.
                                                           ,480 F.3d 1234,1246 (11th Cir.
    2007)(quotingChicago Tribune,263F.3d at1309). W hen determiningwhethergood causeto
    sealexists,a districtcourtm ustfirstlook to lûthe nature and the characterofthe inform ation in

   question.'' 1d.(quoting Chicago Tribune,263 F.3d at 1315). W hen balancing the public's
   common-law right to access judicial records ûGagainst a party's interest in keeping the
   inform ation confidential,courts consider, nmong other factors,whetherallowing access would

   im paircourtfunctionsorharm legitim ate privacy interests, thedegreeofandlikelihoodofinjury

   ifm adepublic,the reliability ofthe inform ation,whethertherewillbe an opporttmity to respond

   to the inform ation,whether the inform ation concem s public oftk ials orpublic concerns, and the

   availability ofa less onerousalternativeto sealing the doctunents.'' 1d. (citing In reAlexander

   Grant& Co.Litig.,820 F.2d 352,356 (11th Cir.1987$. The Eleventh Circuitruled thata
   ûûparty's privacy or propdetary interest in infonnation som etim es overcom es the interest of the

   publicin accessingtheinformation.''Id.(citingNixonv.WarnerCommc'
                                                                  ns,Inc.,435U.S.589,
   598(1978:.
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            In attempting to file something under sealwith the Court, the Parties shallbearin mind

    these standardsand comply with LocalRule 5.4. Specifcally,thePartiesm ustprovidetheCourt

    withmorethanjusttheexistenceofanagreementbetween them.TheProtectiveOrderbindsthe
    Parties,nottheCourt,and good causem uststillbeshown beforea filing issealed.

           Further,the Courtadvises the parties that it will consider sanctioning a party if the

    Protective Orderisabused oradesignation isfoundto be frivolous.

           Accordingly,itisO RDERED thatParties'JointM otion forEntry ofProtective Orderto

    Govern Discovery (DE 31)isGRANTED.TheStipulated ProtectiveOrder(DE 31,ExhibitA)
    is adopted and incop orated in its entirety.

           DONE AND ORDERED in Chambers in W estpal                ach,Irl ld thiszF dayot-
   D ecem ber,2018.


                                                           ALD M .M ID DLEBRO O K S
                                                      UN ITED STATES DISTRICT JUDGE
   Copies to:CounselofR ecord
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                    EXHIBIT C
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                   FORT LAUDERDALE DIVISION

                                CASE NO. 18-cv-62193-SCOLA/SNOW



  MILITA BARBARA DOLAN,
  on behalf of herself and all others
  similarly situated,

         Plaintiffs,
                                                                 CLASS ACTION
  v.

  JETBLUE AIRWAYS CORPORATION,

        Defendant.
  ___________________________________/

                       PROTECTIVE ORDER GOVERNING DISCOVERY

         THIS CAUSE is before the Court on the parties’ Joint Motion for Entry of a Protective

  Order to Govern Discovery. (ECF No. 34) For good cause shown, it is

         ORDERED and ADJUDGED that the Joint Motion (ECF No. 34) be GRANTED, as

  follows:

         1.      Scope. T h i s O r d e r s h a l l b e a p p l i c a b l e t o all materials produced or

  adduced in the course of pre-trial discovery, whether by a party or a non-party, including initial

  disclosures, responses to discovery requests, deposition testimony and exhibits, and information

  derived directly therefrom (hereinafter collectively “documents”), and shall remain in effect until

  further order of the Court.

         2.      All documents produced in this action, including, but not limited to, documents

  designated as Confidential Information pursuant to this Order, shall be used only for the purposes

  of this action, and not for any other business, competitive, personal, private, public, or other purpose

  whatsoever, unless permitted by Court order.
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         3.      The Parties agree that issues relating to the use of Confidential Information, as

  defined below, will be revisited as part of the pre-trial conference, after the parties have identified

  trial exhibits and witnesses, with the intent of revisiting this Order or creating a new protective order

  to govern the trial phase of the case. This Order is subject to the Local Rules of this District and

  the Federal Rules of Civil Procedure on matters of procedure and calculation of time periods.

         4.      Confidential Information. As used in this Order, “Confidential Information”

  means information produced by a Party or non-party that the Party or non-party considers in good

  faith, pursuant to Federal Rule of Civil Procedure 26 and applicable case law, to contain trade

  secrets and/or other commercial, proprietary, research, development, or personal information that

  is not known to, or has not generally been made available to the public.

         5.      Designation.

                 (a)     A party or non-party may designate a document as Confidential Information

  for protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

  PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere with

  the legibility of the document. As used in this Order, “copies” includes electronic images, duplicates,

  extracts, summaries or descriptions that contain the Confidential Information.              The marking

  “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or at the time

  the documents are produced or disclosed. Applying the marking “CONFIDENTIAL - SUBJECT

  TO PROTECTIVE ORDER” to a document does not mean that the document has any status or

  protection by statute or otherwise except to the extent and for the purposes of this Order. Any copies

  that are made of any documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE

  ORDER” shall also be so marked, except that indices, electronic databases or lists of documents that

  do not contain substantial portions or images of the text of marked documents and do not otherwise

  disclose the substance of the Confidential Information are not required to be marked.
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                  (b)        The designation of a document as Confidential Information is a certification

  by an attorney or a party appearing pro se that the document contains Confidential Information as

  defined in this order. 1

          6.      Depositions. Unless all parties agree on the record at the time the deposition

  testimony is taken, all deposition testimony taken in this case shall be treated as Confidential

  Information until the expiration of the 30th day after the transcript is delivered to any party or the

  witness. Within this time period, a party or non-party may serve a Notice of Designation to all

  parties of record as to specific portions of the testimony that are designated Confidential

  Information, and thereafter only those portions identified in the Notice of Designation shall be

  protected by the terms of this Order. The failure to serve a timely Notice of Designation shall waive

  any designation of testimony taken in that deposition as Confidential Information, unless otherwise

  ordered by the Court. This provision shall not affect a witness’s right under Federal Rule of Civil

  Procedure 30(e) to review his or her deposition transcript for correctness and to sign any corrections

  to the deposition.

          7.      Protection of Confidential Material.

                  (a)         General Protections. Confidential Information shall not be used or

  disclosed by the parties, counsel for the parties or any other persons identified in subparagraph (b)




          1
           An attorney who reviews the documents and designates them as CONFIDENTIAL -
  SUBJECT TO PROTECTIVE ORDER must be admitted to the Bar of at least one state but need
  not be admitted to practice in the Southern District of Florida unless the lawyer is appearing
  generally in the case on behalf of a party. By designating documents confidential pursuant to this
  Order, counsel submits to the jurisdiction and sanctions of this Court on the subject matter of the
  designation only. The provision does not affect the right of a non-party which provides testimony
  or documents that are designated as CONFIDENTIAL to have any and all issues relating to a
  subpoena other than designation, including but not limited to disputes over objections, or the
  completeness of production or testimony, be heard in the jurisdiction in which compliance with the
  subpoena is to occur under Rule 45.
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  for any purpose whatsoever other than in this litigation, including any appeal thereof. Confidential

  Information may be disclosed only to the named plaintiff(s) and any certified class representatives

  and not to any other member of the putative class unless the putative member has been certified as

  a class representative.

                 (b)         Limited Third-Party Disclosures. The parties and counsel for the parties

  shall not disclose or permit the disclosure of any Confidential Information to any third person or

  entity except as set forth in subparagraphs (1)-(9). And Confidential Information shall not be

  disclosed to the persons or entities set forth in subparagraphs (1)-(9) without first furnishing to such

  person a copy of this Order and obtaining from that person an executed Confidentiality Affidavit in

  the form set forth in Attachment A. Subject to these requirements, the following categories of

  persons may be allowed to review Confidential Information:

                             i.    Counsel. Counsel for the parties and designating non-party counsel,
                                   and employees of counsel who have responsibility for the action;

                            ii.    Parties. Individual parties and employees of a party but only to the
                                   extent counsel determines in good faith that the employee’s assistance
                                   is reasonably necessary to the conduct of the litigation in which the
                                   information is disclosed;

                        iii.       The Court and its personnel;

                        iv.        Court Reporters and Recorders. Court reporters and recorders
                                   engaged for depositions;

                            v.     Contractors. Those persons specifically engaged for the limited
                                   purpose of making copies of documents or organizing or processing
                                   documents, including outside vendors hired to process electronically
                                   stored documents;

                        vi.        Consultants and Experts. Consultants 2, investigators, or experts



  2
    The term “consultants” as used in this Protective Order shall refer to non-testifying experts retained
  because their expertise is required for preparation of the prosecution or defense of this action, and
  who are bound by the requirement to only use the information disclosed to them for the purposes of
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                                 employed by the parties or counsel for the parties to assist in the
                                 preparation and trial of this action but only after such persons have
                                 completed the certification contained in Attachment A,
                                 Acknowledgment of Understanding and Agreement to Be Bound;

                       vii.      Witnesses at depositions. During their depositions, witnesses in
                                 this action to whom disclosure is reasonably necessary. Witnesses
                                 shall not retain a copy of documents containing Confidential
                                 Information, except witnesses may receive a copy of all exhibits
                                 marked at their depositions in connection with review of the
                                 transcripts. Pages of transcribed deposition testimony or exhibits to
                                 depositions that are designated as Confidential Information pursuant
                                 to the process set out in this Order must be separately bound by the
                                 court reporter and may not be disclosed to anyone except as permitted
                                 under this Order;

                       viii.     Author or recipient. The author or recipient of the document (not
                                 including a person who received the document in the course of
                                 litigation); and

                        ix.      Others by Consent. Other persons only by written consent of the
                                 producing party or upon order of the Court and on such conditions as
                                 may be agreed or ordered.

                 (c)      Control of Documents. Counsel for the parties shall make reasonable

  efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

  maintain the originals of the forms signed by persons acknowledging their obligations under this

  Order for a period of three years after the termination of the case.

         8.      Inadvertent Failure to Designate. An inadvertent failure to designate a document

  as Confidential Information does not, standing alone, waive the right to so designate the document;

  provided, however, that a failure to serve a timely Notice of Designation of deposition testimony as

  required by this Order, even if inadvertent, waives any protection for deposition testimony. If a

  party or non-party designates a document as Confidential Information after it was initially produced,




  this action. No person whose sole expertise is litigation shall qualify as a consultant under this
  definition.

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  the receiving party, on notification of the designation, must make a reasonable effort to assure that

  the document is treated in accordance with the provisions of this Order. No party shall be found to

  have violated this Order for failing to maintain the confidentiality of material during a time when

  that material has not been designated Confidential Information, even where the failure to so

  designate was inadvertent and where the material is subsequently designated Confidential

  Information.

         9.      Non-Waiver of Privilege.       Pursuant to Federal Rule of Evidence 502(d), the

  production of a document otherwise subject to protection under the attorney-client privilege, work

  product doctrine, or any other privilege recognized by applicable law shall not in itself be deemed to

  be a waiver of that privilege in this matter or in any other proceeding. Any party or non-party who

  discovers that a protected document was produced shall notify the other parties within 14 business

  days of discovery of its production. The parties to whom the document was produced shall return

  all copies, whether in hard copy or electronic form, of that document to the producing party or non-

  party. If requested by the receiving party, the producing party shall provide a replacement copy of

  the production media with the privileged document and all related data removed.

         10.     Filing of Confidential Information. This Order does not, by itself, authorize the

  filing of any document under seal. Any party wishing to file a document designated as Confidential

  Information in connection with a motion, brief or other submission to the Court must first notify the

  Party or non-party who has designated the document(s) as Confidential Information, and must

  comply with the requirements of Local Rule 5.4 for Filings Under Seal. It shall be the burden of the

  party or non-party who has designated a document or deposition transcript as Confidential

  Information under this Order to provide the legal basis in support of a motion to seal.




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         11.     No Greater Protection of Specific Responsive Information. Except on privilege

  grounds not addressed by this Order, no party may withhold responsive information from discovery

  on the ground that it requires protection greater than that afforded by this Order unless to assert

  statutory or privacy rights, including but not limited to HIPAA (Health Insurance Portability and

  Accountability Act of 1996), or unless the party moves for an order providing such special

  protection.

         12.     Challenges by a Party to Designation as Confidential Information. The

  designation of any material or document as Confidential Information is subject to challenge by any

  party. The following procedure shall apply to any such challenge.

                 (a)     Meet and Confer.       A party challenging the designation of Confidential

  Information must do so in good faith and must begin the process by conferring directly with counsel

  for the designating party or non-party. In conferring, the challenging party must explain the basis

  for its belief that the confidentiality designation was not proper and must give the designating party

  an opportunity to review the designated material, to reconsider the designation, and, if no change in

  designation is offered, to explain the basis for the designation. The designating party or non-party

  must respond to the challenge within five (5) business days.

                 (b)     Judicial Intervention. If the dispute cannot be resolved through the meet

  and confer process, the objecting party may file and serve a motion that identifies the challenged

  material and sets forth in detail the basis for the challenge. Each such motion must be accompanied

  by a competent declaration that affirms that the movant has complied with the meet and confer

  requirements of this procedure. The burden of persuasion in any such challenge proceeding shall be

  on the designating party or non-party. Until the Court rules on the challenge, all parties shall

  continue to treat the materials as Confidential Information under the terms of this Order.


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         13.     Action by the Court. Applications to the Court for an order relating to materials or

  documents designated Confidential Information shall be by motion. Nothing in this Order or any

  action or agreement of a party under this Order limits the Court’s power to make orders concerning

  the disclosure of documents produced in discovery or at trial.

         14.     Confidential Information Subpoenaed or Ordered Produced in Other

  Litigation.

                 (a)     If a receiving party is served with a subpoena or an order issued in other

  litigation that would compel disclosure of any material or document designated in this action as

  Confidential Information, the receiving party must so notify the designating party or non-party, in

  writing, immediately and in no event more than three court days after receiving the subpoena or

  order. Such notification must include a copy of the subpoena or court order.

                 (b)     The receiving party also must immediately inform in writing the party who

  caused the subpoena or order to issue in the other litigation that some or all of the material covered

  by the subpoena or order is the subject of this Order. In addition, the receiving party must deliver a

  copy of this Order promptly to the party in the other action that caused the subpoena to issue.

                 (c)     The purpose of imposing these duties is to alert the interested persons to the

  existence of this Order and to afford the designating party in this case an opportunity to try to protect

  its Confidential Information in the court from which the subpoena or order issued. The designating

  party shall bear the burden and the expense of seeking protection in that court of its Confidential

  Information, and nothing in these provisions should be construed as authorizing or encouraging a

  receiving party in this action to disobey a lawful directive from another court. The obligations set

  forth in this paragraph remain in effect while the party has in its possession, custody or control

  Confidential Information by the other party to this case.


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         15.     Obligations on Conclusion of Litigation.

                 (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order,

  or any subsequent Order entered to govern the use of Confidential Material during the trial of this

  matter, shall remain in force after dismissal or entry of final judgment not subject to further appeal.

                 (b)     Obligations at Conclusion of Litigation. Within ninety days after

  dismissal or entry of final judgment not subject to further appeal, all Confidential Information and

  documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this Order,

  including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1) the

  document has been offered into evidence or filed without restriction as to disclosure; (2) the parties

  agree to destruction to the extent practicable in lieu of return; or (3) as to documents bearing the

  notations, summations, or other mental impressions of the receiving party, that party elects to destroy

  the documents and certifies to the producing party that it has done so.

                 (c)     Retention of Work Product and one set of Filed Documents.

  Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

  attorney work product, including an index that refers or relates to designated Confidential

  Information so long as that work product does not duplicate verbatim substantial portions of

  Confidential Information, and (2) one complete set of all documents filed with the Court including

  those filed under seal. Any retained Confidential Information shall continue to be protected under

  this Order. An attorney may use his or her work product in subsequent litigation, provided that its

  use does not disclose or use Confidential Information.

                 (d)     Deletion of Documents filed under Seal from Electronic Case Filing

  (ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

  Court. Any document filed under seal does not lose that status upon conclusion of the litigation.



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         16.      Order Subject to Modification. This Order shall be subject to modification by

  the Court on its own initiative or on motion of a party or any other person with standing concerning

  the subject matter.

         17.      No Prior Judicial Determination. This Order is entered based on the

  representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

  herein shall be construed or presented as a judicial determination that any document or material

  designated Confidential Information by counsel or the parties is entitled to protection under Rule

  26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule on

  a specific document or issue.

         18.      Persons Bound. This Order shall take effect when entered and shall be binding

  upon all counsel of record and their law firms, the parties, and persons made subject to this Order

  by its terms.

         DONE AND ORDERED at Fort Lauderdale, Florida, this 31st day of December, 2018.




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                                            ATTACHMENT A
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

                                  CASE NO. 18-cv-62193-SCOLA/SNOW



  MILITA BARBARA DOLAN,
  on behalf of herself and all others
  similarly situated,

            Plaintiffs,
                                                                  CLASS ACTION
  vs.

  JETBLUE AIRWAYS CORPORATION,

        Defendant.
  ___________________________________/


                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

             The undersigned hereby acknowledges that he/she has read the Confidentiality Order dated

                                                            in the above-captioned action and attached

      hereto, understands the terms thereof, and agrees to be bound by its terms. The undersigned—as

      an authorized party to whom confidential information may be provided pursuant to Paragraph

      7(b)—submits to the jurisdiction of the United States District Court for the Southern District of

      Florida 3 in matters relating to the Confidentiality Order and understands that the terms of the

      Confidentiality Order obligate him/her to use materials designated as Confidential Information in

      accordance with the Order solely for the purposes of the above-captioned action, and not to disclose

      any such Confidential Information to any other person, firm or concern.


  3
   This acknowledgment does not apply to a non-party who testifies or produces documents pursuant
  to a Rule 45 subpoena issued from this court and designates any such testimony or document(s) as
  Confidential Information for protection under this Order.
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           The undersigned acknowledges that violation of the Confidentiality Order may

   result in penalties for contempt of court.



   Name:

   Job Title:

   Employer:

   Business Address:




   Date:

                                          Signature




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